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Revised 324/16
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 9 of 21

 

 

 

 

 

 

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Revised 3 24 16
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 10 of 21

 

 

 

 

 

 

 

 

 

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Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 11 of 21

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Revised 3 24/16
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 12 of 21

 

 

 

 

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Revised 3.24 16
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 13 of 21

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Revised 3.24 16
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 14 of 21

 

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Revised 3 2416

 
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 15 of 21

 

 

 

 

 

 

    

 

 

 

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Revised 3.24'16
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 16 of 21

 

 

 

 

 

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Revised 324 16
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 17 of 21

 

 

 

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Revised 3 2416
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Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 18 of 21

 

 

 

 

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Revised 3/2416
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 19 of 21

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Revised 3.24'16
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 20 of 21

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Revised 3.24 16
Case 1:20-cv-00347-BLW Document 3 Filed 07/13/20 Page 21 of 21

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